UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

                                          X
                                          :
BLAKE LIVELY,                             :
                                          :
                        Plaintiff,        :        1:24-cv-10049 (lead case)
                                          :        1:25-cv-00449 (member
           -v-                            :        case)
                                          :        1:25-cv-00779 (related
WAYFARER STUDIOS LLC, JUSTIN BALDONI,     :        case)
JAMEY HEATH, STEVE SAROWITZ, IT ENDS WITH :
US MOVIE LLC, MELISSA NATHAN, THE AGENCY :
GROUP PR LLC, and JENNIFER ABEL,          :
                                          :
                        Defendants.       :
                                          :
                                          X
                                          :
WAYFARER STUDIOS LLC, JUSTIN BALDONI,     :
JAMEY HEATH, IT ENDS WITH US MOVIE LLC,   :
MELISSA NATHAN, JENNIFER ABEL, and STEVE  :
SAROWITZ,                                 :
                                          :
                        Plaintiffs,       :
                                          :
               -v-                        :
                                          :
BLAKE LIVELY, RYAN REYNOLDS, LESLIE       :
SLOANE, VISION PR, INC., and THE NEW YORK :
TIMES COMPANY.                            :
                                          :
                        Defendants.       X


                         NOTICE OF SUBPOENA


 To:     Jason Sunshine        Mitchell Schuster       Sigrid S. McCawley
         LINER FREEDMAN        Kevin A. Fritz          Andrew Villacastin
         TAITELMAN &           Amit Shertzer           Lindsey Ruff
         COOLEY LLP            MEISTER SEELIG          BOIES SCHILLER
                               & FEIN LLP              FLEXNER LLP
               Kristin Tahler
               Maaren Alia Shah
               Nicholas Inns
               QUINN EMANUEL
               URQUHART &
               SULLIVAN, LLP

       PLEASE TAKE NOTICE, pursuant to Federal Rule of Civil Procedure 45, that Blake

Lively intends to serve a Subpoena, in the form attached hereto, on AT&T, on February 12, 2025,

or as soon thereafter as service may be effectuated.


 Dated: February 11, 2025
                                                  /s/ Michael J. Gottlieb
                                                  WILLKIE FARR & GALLAGHER LLP
                                                  Michael J. Gottlieb
                                                  Kristin E. Bender
                                                  Meryl Governski
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                                                  Los Angeles, California 90067
                                                  (310) 312-4000
                                                  E-mail: ehudson@manatt.com
                                                  sroeser@manatt.com
                                                  Attorneys for Blake Lively and Ryan Reynolds
                                   CERTIFICATE OF SERVICE

       I hereby certify that on February 11, 2025, a true and correct copy of the foregoing Notice

of Subpoena was served via email on counsel of record, as identified below:


         Sigrid S. McCawley                                    Jason Sunshine
         Andrew Villacastin                                    LINER FREEDMAN
         Lindsey Ruff                                          TAITELMAN &
         BOIES SCHILLER                                        COOLEY LLP
         FLEXNER LLP                                           1801 Century Park
         55 Hudson Yards                                       West, 5th Floor
         New York, NY 10001                                    Los Angeles, CA
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                                                               Mitchell Schuster
                                                               Kevin A. Fritz
         Counsel for Consolidated Defendants
                                                               Amit Shertzer
         Leslie Sloane and Vision PR, Inc.
                                                               MEISTER SEELIG & FEIN
                                                               LLP
         Kristin Tahler
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         kristintahler@quinnemanuel.com
                                                               Counsel for Defendants and Consolidated
                                                               Plaintiffs Wayfarer Studios LLC, Justin
         Maaren Alia Shah
                                                               Baldoni, Jamey Heath, Steve Sarowitz, It
         QUINN EMANUEL
                                                               Ends With Us Movie LLC, Melissa Nathan,
         URQUHART & SULLIVAN,
                                                               and Jennifer Abel, and Defendant The
         LLP
                                                               Agency Group PR LLC
         295 5th Avenue, 9th Floor
         New York, NY 10016
         Tel: (212) 849-7000
         Fax: (212) 849-7100
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nicholasinns@quinnemanuel.com

Counsel for Stephanie Jones and
Jonesworks, LLC




Dated: February 11, 2025          /s/ Michael J. Gottlieb
                                  Michael J. Gottlieb
AO 88B (Rev. 12/13) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                        Southern District
                                                       __________ Districtofof
                                                                             New  York
                                                                               __________

                                                                               )
                               Plaintiff                                       )
                                  v.                                           )       Civil Action No.
                                                                               )
                                                                               )
                              Defendant                                        )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

To:

                                                       (Name of person to whom this subpoena is directed)

        Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material:



 Place:                                                                                 Date and Time:



        Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 Place:                                                                                 Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:

                                  CLERK OF COURT
                                                                                            OR

                                           Signature of Clerk or Deputy Clerk                                         Attorney’s signature


The name, address, e-mail address, and telephone number of the attorney representing (name of party)
                                                                        , who issues or requests this subpoena, are:



                                Notice to the person who issues or requests this subpoena
A notice and a copy of the subpoena must be served on each party in this case before it is served on the person to whom
it is directed. Fed. R. Civ. P. 45(a)(4).
AO 88B (Rev. 12/13) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                               .

                I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

                I returned the subpoena unexecuted because:
                                                                                                                                              .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                      .

My fees are $                                      for travel and $                             for services, for a total of $                .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:
AO 88B (Rev. 12/13) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
Attachment A
                                         DEFINITIONS

       1.      The Uniform Definitions in Discovery Requests that are set forth in Local Civil

Rule 26.3 are hereby incorporated by reference.

       2.      “Actions” means and collectively refers to the following cases entitled (a) Lively v.

Wayfarer Studios LLC et al., U.S. District Court for the Southern District of New York (Case No.

1:24-cv-10049-LJL); (b) Wayfarer Studios LLC et al. v. Lively et al., U.S. District Court for the

Southern District of New York (Case No. 1:25-cv-00449-LJL); (c) Wayfarer Studios LLC et al. v.

The New York Times Company, Superior Court of California, County of Los Angeles (Case No.

24STCV34662); and/or (d) Jones v. Jennifer Abel et al., United States District Court for the

Southern District of New York (NYS Case No. 659849/2024; SDNY Case No. 1:25-cv-00779).

       3.      “Agreement” means any contract, arrangement, or understanding, formal or

informal, oral or written.

       4.      “Affiliate” means any and all entities that are wholly owned and/or controlled

(directly or indirectly) by, or under common control by an identified individual or entity, including

any corporate parent, subsidiaries, or affiliates, and each of their respective officers, directors,

employees, or partners.

       5.      The terms “all,” “any,” and “each” shall each be construed as encompassing any

and all. See Local Civil Rule 26.3.

       6.      The connectives “and” and “or” shall be construed either disjunctively or

conjunctively as necessary to bring within the scope of the discovery request all responses that

might otherwise be construed to be outside of its scope. See Local Civil Rule 26.3.

       7.      “Abel” refers to Jennifer Abel, who is a party to the Action.

       8.      “Baldoni” refers to Justin Baldoni, who currently serves as the co-founder and co-

chairman of Wayfarer Studios LLC and is a party to the Action.


                                                  1
        9.     “Communication” means the transmittal of information (in the form of facts, ideas,

inquiries, or otherwise). See Local Civil Rule 26.3.

        10.    “Lively Complaint” means the operative complaint filed by Blake Lively in Lively

v. Wayfarer Studios LLC et al., No. 1:24-cv-10049-LJL, Dkt. No. 1, and any amended complaints

filed by Blake Lively in the proceeding.

        11.    The “CRD Complaint” means the operative administrative complaint filed by Blake

Lively with the California Civil Rights Department on December 20, 2024.

        12.    “Concerning” means relating to, referring to, describing, evidencing, or

constituting. See Local Civil Rule 26.3.

        13.    “Document” or “Documents” is defined to be synonymous in meaning and equal

in scope to the usage of the term “documents or electronically stored information” in Fed. R. Civ.

P. 34(a)(1)(A). A draft or non-identical copy is a separate document within the meaning of this

term. See Local Civil Rule 26.3.

        14.    The “Film” means the movie “It Ends with Us,” co-starring Blake Lively and Justin

Baldoni, as described in the Lively Complaint.

        15.    “Bryan Freedman” refers to counsel for the Wayfarer Parties in the Action, as well

as his past or present members, officers, employees, partners, corporate parent, subsidiaries, or

affiliates.

        16.    “Heath” refers to Jamey Heath who currently serves as the CEO of Wayfarer

Studios LLC and is a party to the Action.

        17.    “Including” means “including, but not limited to,” or “including, without

limitation,” and should not be construed as limiting any request.




                                                 2
        18.     “IEWU LLC” shall refer to Defendant It Ends With Us Movie LLC, which is a

party to this Action, as well as its past or present members, officers, employees, partners, corporate

parent, subsidiaries, or affiliates.

        19.     “Jonesworks” shall refer to the entity Joneworks LLC, as well as its past or present

members, officers, employees, partners, corporate parent, subsidiaries, or affiliates, including,

without limitation, Stephanie Jones.

        20.     “Jonesworks Complaint” means the operative complaint filed by Stephanie Jones

and Jonesworks LLC in Jones v. Jennifer Abel et al. and removed to the United States District

Court for the Southern District of New York (NYS Case No. 659849/2024; SDNY Case No. 1:25-

cv-00779), Dkt. No. 1, and any amended complaints filed by Stephanie Jones and/or Jonesworks

LLC in the proceeding.

        21.     “Liner Freedman Taitelman + Cooley” refers to the law firm serving as counsel for

the Wayfarer Parties in the Action as well as its past or present members, officers, employees,

partners, corporate parent, subsidiaries, or affiliates.

        22.     “Lively/Reynolds Companies” shall refer to Ms. Lively and Mr. Reynolds’s

affiliated entities, including but not limited to Betty Buzz LLC, Blake Brown, Aviation Gin, Mint

Mobile, and Maximum Effort Productions, individually and collectively, and their past or present

members, officers, employees, partners, corporate parent, subsidiaries, or affiliates.

        23.     “Ms. Lively” shall refer to Blake Lively, who is a party to this Action.

        24.     “Mr. Reynolds” shall refer to Ryan Reynolds, who is a party to this Action.

        25.     “Marketing Plan” shall refer to any efforts to market or promote the Film, including,

but not limited to, any advertising, promotional, publicity or marketing materials (such as, without

limitation, themes, market testing, research, summaries, talking points, trailers or teasers, posters,




                                                   3
social media posts, and screen, radio, digital or television advertising), as described in the

Complaint.

        26.     “Nathan” shall refer to Melissa Nathan, who is a party to the Action.

        27.     The terms “plaintiff” and “defendant” as well as a party’s full or abbreviated name

or a pronoun referring to a party mean the party and, where applicable, its officers, directors,

employees, partners, corporate parent, subsidiaries or affiliates. This definition is not intended to

impose a discovery obligation on any person who is not a party to the litigation. See Local Civil

Rule 26.3.

        28.     “Person” is defined as any natural person or any legal entity, including, without

limitation, any business or governmental entity or associate. See Local Civil Rule 26.3.

        29.     “Protections for Return to Production Agreement” means the contract executed in

November 2023 concerning appropriate behavior during filming and production of the Film, as

described in the Complaint.

        30.     “Digital Campaign” refers to efforts of the Wayfarer Parties and/or any affiliates,

employees, associates, or subcontractors to communicate information regarding Blake Lively,

Ryan Reynolds, the Lively/Reynolds Companies, the Lively/Reynolds Family, the Wayfarer

Parties, the Film, or the Actions on any Social Media, news outlet, or other internet platform and/or

to seed, influence, manipulate, boost, amplify, or engage with social media algorithms, narrative

or virality, as well as the use of bots or inauthentic accounts, as described in the Complaint.

        31.     “Relating to” or “Relate to” means, without limitation, assessing, comprising,

constituting, concerning, referring to, containing, describing, discussing, embodying, evidencing,

identifying, pertaining to, reflecting, stating, supporting, or tending to support or refute, or

referring in any other way, directly or indirectly, in whole or in part, to the subject matter specified.




                                                   4
       32.     “Social Media” means any digital platform, forum, website, application, online

service, or other platform on which persons can create, transmit, share, communicate, exchange

content, or comment upon any information, ideas, or opinions, or otherwise engage in social

networking, including but not limited to:

               a.     Social Networking Platforms – Facebook, Instagram, Twitter (X),

                      LinkedIn, TikTok, Snapchat, Reddit, and similar platforms.

               b.     Content Sharing & Video Platforms – YouTube, Vimeo, Twitch, Rumble,

                      or similar services where videos, reels, or live content can be uploaded or

                      streamed.

               c.     Email, Messaging Applications & Direct Communication Platforms –

                      Including, but not limited to, Gmail, Outlook, WhatsApp, Telegram, Signal,

                      Discord, Slack, Facebook Messenger, Instagram DMs, Twitter DMs, or any

                      private messaging feature within a social media platform.

               d.     Blogging & Forum Sites – Medium, Substack, WordPress, 4chan, 8kun, or

                      any other user-generated content site where written materials are published.

               e.     Influencer & Review-Based Platforms – Yelp, Glassdoor, Trustpilot,

                      Google Reviews, Patreon, or any website where reputational impact can be

                      influenced.

               f.     Advertising & Promotional Services – Paid sponsorships, influencer

                      partnerships, promoted posts, advertisements, bots, or algorithm-driven

                      visibility campaigns.




                                               5
               g.      Automated or Third-Party Content Management Tools – Hootsuite, Buffer,

                       Sprout Social, or any platform used to schedule, automate, or track social

                       media activity.

               h.      Any Other Online Presence – Any additional websites, forums, private

                       groups, or digital spaces where content related to Plaintiff was discussed,

                       posted, or promoted.

               i.      Without limiting the foregoing in any manner, and by way of example only,

                       this definition includes: all original posts, reposts, shares, likes, comments,

                       hashtags, memes, images, videos, stories, threads, and reactions; all drafts,

                       deleted posts, or unpublished content related to Plaintiff; all engagement

                       metrics, analytics, reports, or logs reflecting interactions with content; and

                       all metadata, timestamps, IP addresses, geolocation data, or user activity

                       logs related to content.

        33.    “Sony” shall refer to Sony Pictures Entertainment, and its past or present officers,

directors, employees, partners, corporate parent, subsidiaries, or affiliates.

        34.    “Sarowitz” shall refer to Steve Sarowitz, who is a party to the Action.

        35.    “Street Relations” shall refer to the entity Street Relations, Inc., as well as its past

or present members, officers, employees, partners, corporate parent, subsidiaries, or affiliates,

including, without limitation, Jed Wallace.

        36.    “TAG” shall refer to The Agency Group PR LLC, which is a party to the Action,

and its past or present members, officers, employees, partners, corporate parent, subsidiaries, or

affiliates.




                                                  6
          37.   “Vision PR Parties” refers to Defendants Leslie Sloane and Vision PR, Inc., in

Wayfarer Studios LLC et al. v. Lively et al., No. 1:25-cv-00449-LJL.

          38.   “Wallace” shall refer to Jed Wallace, as described in the Complaint.

          39.   “Wayfarer” shall refer to Defendant Wayfarer Studios LLC, and its past or present

members, officers, employees, partners, corporate parent, subsidiaries, or affiliates.

          40.   “Wayfarer SDNY Complaint” shall refer to the Complaint, Dkt. No. 1, the First

Amended Complaint, Dkt. No. 50, and any other amended complaints filed by Wayfarer Studios

LLC, Justin Baldoni, Jamey Heath, It Ends with Us Movie LLC, Melissa Nathan, and Jennifer

Abel in Wayfarer Studios LLC et al. v. Lively et al., No. 1:25-cv-00449-LJL, as consolidated.

          41.   “Wayfarer New York Times Action” shall refer to the lawsuit entitled Wayfarer

Studios LLC et al. v. The New York Times Company, No. 24STCV34662, filed in the Superior

Court of California, County of Los Angeles.

          42.   “Wayfarer Parties” shall refer, individually and collectively, to Wayfarer, Baldoni,

Heath, Sarowitz, Nathan, TAG, Abel, RWA Communications LLC, Wallace, and Street Relations.

          43.   “WME” shall refer to William Morris Endeavor Entertainment Agency, its officers,

directors, employees, partners, corporate parent, subsidiaries, or affiliates.

          44.   “You,” “Your,” or “Yours” refers to AT&T and any of its officers, directors,

employees, partners, corporate parents, subsidiaries, affiliates, successors, assigns, or any related

entity.

                                         INSTRUCTIONS

          1.    In addition to the specific instructions below, these Requests incorporate by

reference the instructions set forth in Rule 45 of the Federal Rules of Civil Procedure.

          2.    In responding to these Requests, You shall make a diligent search and produce all

responsive Documents that are (i) in Your possession, custody, or control, or (ii) in the possession,


                                                  7
custody, or control of any of Your agents, employees, attorneys, accountants, or other

representatives or anyone acting on Your behalf, or under Your direction or control, or (iii)

otherwise available to You. A Document shall be deemed within Your control if You have the

right to secure the document or a copy of the Document from another Person having possession,

custody, or control of the Document.

       3.      Unless otherwise specified, each Request concerns the time period from December

1, 2022 through the present.

       4.      In construing these Requests, You should give effect to the Definitions set forth

above. Undefined words and terms shall be given their common meaning. If You are unsure of the

definition of a particular term or word, use the definition that You believe to be the most accurate

and state that definition in Your response.

       5.      If You do not clearly understand, or have any questions about the definitions or

instructions for any Request, please promptly contact counsel for Ms. Lively for clarification.

       6.      These Requests should be construed as broadly as possible with all doubts resolved

in favor of production. If you believe a Request is ambiguous, use the broadest reasonable

interpretation as permitted under the Federal Rules of Civil Procedure and state the nature of the

perceived ambiguity and the interpretation used to resolve it. The words “all,” “any,” “each,”

“and,” and “or” shall be construed conjunctively or disjunctively as necessary to make the Request

inclusive rather than exclusive. Except as specifically provided in these Requests, words imparting

the singular shall include plural, and vice versa, where appropriate. Except as specifically provided

in these Requests, words imparting the present tense shall also include the past and future tense

and vice versa, where appropriate.




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       7.      For any hard copy production, all documents produced shall be produced as kept in

the ordinary course, including identification of the applicable file folder and source. The original

of each document requested shall be produced, or an identical copy of each document, imprinted

with a Bates identification number. Documents attached to other documents or materials shall not

be separated. Documents not otherwise responsive to these requests shall be produced if such

documents are attached to documents called for by the Requests and constitute routing slips,

transmittal memoranda, letters, emails, comments, evaluations, or similar materials, or mention,

discuss, refer to, or explain the documents that are called for by the Requests.

       8.      For any hard copy production, identical copies of a document need not be produced.

Any copy of a document that varies from the original, whether by reason of handwritten or other

notation or any omission, or metadata associated with a file, shall constitute a separate document

and must be produced, whether or not the original of such a document is within your possession,

custody, or control.

       9.      If an objection is made to any portion of any Request, (a) state with specificity the

objection and legal basis for such objection; (b) state whether any responsive materials are being

withheld on the basis of that objection; and (c) answer all remaining portions of the Request to

which an objection is not asserted.

       10.     If any responsive document is withheld in whole or in part under a claim of

privilege or other ground, as to each such document, identify the privilege or other ground being

asserted and provide the following information in sufficient detail to permit the Court to evaluate

Your claim:




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               a.      date, author, addressees, Persons carbon copied or blind carbon copied,

                       including the relationship of those Persons to You or the author of the

                       document;

               b.      brief description sufficient to identify the type, subject matter, and purpose

                       of the document;

               c.      all Persons to whom the document’s contents have been disclosed;

               d.      the party who is asserting the privilege;

               e.      the nature of the privilege, immunity or protection asserted, the Person(s);

               f.      asserting the privilege, immunity or protection, and/or the specific reason

                       why the Document is not being produced; and

               g.      the same information referenced in 10(a)-(f) above for each enclosure or

                       attachment to each listed document if the enclosure or attachment is also

                       withheld from production.

       11.     If a portion of any responsive document is withheld under a claim of privilege or

other ground, any non-privileged portion of the document must be produced with the withheld

portion redacted, with the redaction language indicating that the information is being withheld for

privilege.

       12.     If any responsive document was, but no longer is, in Your possession, custody, or

control, state whether it is (a) missing or lost; (b) destroyed; (c) transferred voluntarily or

involuntarily to others; or (d) otherwise disposed of; and (e) in each instance identify the contents,

author(s), date prepared or received, name and address of its current or last known custodian, and

the date and circumstances surrounding such disposition.




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       13.     To the extent that the native format for transactional or other data responsive to

these Requests is not compatible with Microsoft Office products (e.g., Microsoft Excel, Microsoft

Word, Microsoft Access, etc.), the data shall be produced in a usable format. If You need assistance

in determining what constitutes a usable format, You shall promptly contact Ms. Lively’s counsel.

       14.     These Requests are continuing in nature and all documents coming into Your

possession, custody or control which would have been produced had they been available earlier

shall be produced forthwith.

       15.     Notwithstanding anything else to the contrary herein, each word, term, or phrase is

intended to have the broadest meaning permitted under the Federal Rules of Civil Procedure.

                                    PRODUCTION OF ESI

       1.      Format: ESI should be produced in load-ready standard format, including single-

page, black and white, TIFF Group IV, 300 DPI TIFF images with the exception of spreadsheet

and presentation type files, audio and video files, and Documents with tracked changes reflected

in the metadata, which should be produced in native format. If an original Document contains

color, the Document should be produced as single-page, 300 DPI JPG images with JPG

compression and a high-quality setting so as to not degrade the original image. Parties are under

no obligation to enhance an image beyond how it was kept in the usual course of business.

TIFFs/JPGs should show any and all text and images that would be visible to the reader using the

native software that created the Document. For example, TIFFs/JPGs of sent email messages

should include the BCC line.

       2.      Format – Native Files: Spreadsheets (e.g., Excel, Lotus, Google Sheets, CSV) and

Media files (e.g., .WAV, .MP3, .MP4, .MOV, .WMV, .MPEG), shall be produced in Native

Format, except where such files are redacted. For Google Documents, production of an export in

a comparable format will constitute native production (e.g., Google Sheets Document exported in

                                                11
Microsoft Excel format). A TIFF placeholder endorsed with the corresponding Bates number and

confidentiality designation (if any) shall be produced for all ESI produced in Native Format.

       3.      Word Documents and PowerPoint Documents shall be produced in both native and

TIFF format, with track changes and speaker notes imaged.

       4.      De-Duplication: Each party shall remove exact duplicate Documents based on

MD5 or SHA-1 hash values, at the family level. Attachments should not be eliminated as

duplicates for purposes of production, unless the parent email and all attachments are also

duplicates. An email that includes content in the BCC or other blind copy field shall not be treated

as a duplicate of an email that does not include content in those fields, even if all remaining content

in the email is identical. De-duplication should be done across the entire collection (global de-

duplication) and the ALL CUSTODIAN field should list each custodian, separated by a semicolon,

who was a source of that Document and the FILEPATH field will list each file path, separated by

a semicolon, that was a source of that Document. Should the ALL CUSTODIAN or FILEPATH

metadata fields produced become outdated due to processing of additional data or production of

documents of additional custodians, an overlay file providing all the custodians and file paths for

the affected Documents should be produced prior to substantial completion of the Document

production.

       5.      Technology-Assisted Review/Analytics: Predictive coding/technology-assisted

review shall not be used for the purpose of culling the Documents to be reviewed or produced

without notifying the requesting party prior to use and with ample time to meet and confer in good

faith regarding an agreeable protocol for the use of such technologies. Before threading is used to

reduce the volume of emails to review, the producing party shall reach out to Ms. Lively’s counsel

to ensure the process being utilized by the vendor is industry standard. If it is agreed that threading




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may be used to reduce the volume of documents to produce, the producing party shall produce the

Inclusive emails, defined as those emails within an email thread containing all unique content as

determined by commonly accepted analytics tools. An additional metadata field containing the

Thread ID shall be produced so that Inclusive emails can be reviewed together. The requesting

party may request the production of a lesser-included email or emails, and any such reasonable

request(s) shall not be refused where the Document is available in the producing party’s Document

collection.

       6.     Metadata: Metadata produced will include the following fields of information, to

the extent such information exists and can be readily provided through reasonable efforts:

BegBates, EndBates, AttachRange, BegAttach, EndAttach, ParentID, ChildID(s), AllCustodian,

FilePath, Subject, From, To, CC, BCC, DateSent, TimeSent, DateReceived, TimeReceived,

FileType (e.g., Email, Attachment, Loose File, Hard Copy), FileName, Author, DateCreated,

DateModified, MD5 Hash (or SHA-1, whichever is used for deduplication), File Size,

FileExtension, DocLink, and TextPath.

       7.     Message Metadata: In addition to the fields listed in Section 6 above, Metadata for

text and chat messages produced will include the following fields of information, to the extent

such information exists and can be readily provided through reasonable efforts: Message Thread

ID, Message Participants, Message From, Message To, Message DateTime Sent, Message

Application Name (e.g., Signal, WhatsApp, etc.)., Message Deleted, Message Deleted on, Message

Deleted By, Message Edited, Message Edited On, Message Edited By.

       8.     Attachments: If any part of an email or its attachments is responsive, the entire

email and attachments should be produced, except any information to be redacted on the basis of

privilege. The parties should meet and confer about whether there is an appropriate basis for




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withholding a family Document for any reason other than attorney-client or work product

privilege. The attachments should be produced sequentially after the parent email.

       9.      Compressed File Types: Compressed file types (e.g., .ZIP, .RAR, .CAB, .Z) should

be decompressed so that the lowest level Document or file is extracted.

       10.     Structured Data: To the extent a response to discovery requires production of

electronic information stored in a database, the parties should meet and confer regarding methods

of production. Parties should consider whether all relevant information may be provided by

querying the database for discoverable information and generating a report in a reasonably usable

and exportable electronic file.

       11.     Encryption: To maximize the security of information in transit, any media on which

Documents are produced may be encrypted. In such cases, the producing party shall transmit

productions via SFTP. If that is not possible, parties should discuss with counsel for Ms. Lively

and transmit the encryption key or password to the receiving party, or by phone call or text

message, contemporaneously with sending the encrypted media.

       12.     Redactions: If excels are to be redacted, redactions must be applied natively. If

other Documents that the parties have agreed to produce only in native format need to be redacted,

the parties should meet and confer regarding how to implement redactions while ensuring that

proper formatting and usability are maintained.




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                               DOCUMENTS TO BE PRODUCED

REQUEST FOR PRODUCTION NO. 1:

        All Documents concerning ingoing and outgoing calls or text messages related to telephone

number                  belonging to Justin Baldoni, within the time period of December 1, 2022 to

the present, including but not limited to call logs, text logs, data logs, and cell site location

information.


REQUEST FOR PRODUCTION NO. 2:

        All Documents concerning ingoing and outgoing calls or text messages related to telephone

number                   belonging to Jamey Heath, within the time period of December 1, 2022 to

the present, including but not limited to call logs, text logs, data logs, and cell site location

information.


REQUEST FOR PRODUCTION NO. 3:

        All Documents concerning ingoing and outgoing calls or text messages related to telephone

number                   belonging to Melissa Nathan, within the time period of July 1, 2024 to the

present, including but not limited to call logs, text logs, data logs, and cell site location information.


REQUEST FOR PRODUCTION NO. 4:

        All Documents concerning ingoing and outgoing calls or text messages related to telephone

number                   belonging to Milica             , within the time period of December 1, 2022

to the present, including but not limited to call logs, text logs, data logs, and cell site location

information.




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REQUEST FOR PRODUCTION NO. 5:

       All Documents concerning ingoing and outgoing calls or text messages related to the

account of Jed Wallace at 294 Barton Bend Road, Dripping Springs, TX 78620-5645, within the

time period of December 1, 2022 to the present, including but not limited to call logs, text logs,

data logs, and cell site location information.


REQUEST FOR PRODUCTION NO. 6:

       All Documents and Communications produced in connection with any Subpoena in any

Action, related action, or consolidated action.




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